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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    vs.                                             CASE NO. 3:20-cr-86-TJC-JBT

    JORGE PEREZ, et al.


                                       ORDER

          This case is before the Court on the Defendant James F. Porter’s Motion

    to Preclude Expert Testimony of Dr. R. Corey Waller, MD, MS (Doc. 593) filed

    on April 22, 2022, which another defendant adopted (Doc. 635), and to which

    the Government responded (Doc. 632). The Court heard the motion on

    April 29, 2022, and took it under advisement. (Doc. 658). The Daubert standard

    allows expert testimony to be admitted into evidence if: (1) the expert is

    qualified to testify competently regarding the matters he intends to address, (2)

    the methodology by which the expert reaches his conclusions is sufficiently

    reliable, and (3) the testimony assists the trier of fact. See FED. R. EVID. 702;

    City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562–63 (11th Cir.

    1998) (citing Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589 (1993)).

    In the motion and at the hearing, Porter largely challenges whether Dr. Waller’s

    methodology is sufficiently reliable. (Doc. 593 at 8–9; Doc. 660 at 85:1–106:10).
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            Since the hearing, the Court has considered the parties’ thorough

    arguments and closely reviewed Dr. Waller’s supplemental expert report,

    Dr. Clark’s expert report upon which Dr. Waller relies, and case law under the

    Daubert standard. Upon careful consideration, the Court finds that Dr. Waller’s

    methodology is sufficiently reliable under Daubert and that Dr. Waller’s

    proposed testimony meets the other Daubert requirements. Because the trial in

    this case is set to commence on May 9th, the Court is issuing this relatively

    brief Order on the motion. As necessary, the Court will issue a more complete

    opinion at a later time. Accordingly, it is hereby

            ORDERED:

            Defendant James F. Porter’s Motion to Preclude Expert Testimony of

    Dr. R. Corey Waller, MD, MS (Doc. 593) is DENIED.

            DONE AND ORDERED in Jacksonville, Florida this 4th day of May,

    2022.




    ksm
    Copies:

    Counsel of Record
    Defendants




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